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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA
v.                                                      CRIMINAL NO. 5:08cr20DCB-LRA
CHARLES W. GAVIN, ET AL
                                           MOTION TO SEAL
       The United States of America requests that the certain exhibits in the trial of this matter herein
be sealed, and represents the following:
       During the trial of this matter certain documents were introduced into evidence which contained
the prison records of certain inmates including visitors logs and phone logs which were used to
establish connections between different parties. Such documents contain the names of inmate visitors
and their addresses.
       Additionally, some of the exhibits contain bank records with account information which were
needed by the government to establish the ability to pay for the murder for hire.
       The government therefore request that the Court seal Governments Exhibits:
       1. G-1-A
       2. G-1-B
       3. G-4-A
       4. G-5-A
       5. G-6-A
       6. G-6-C
       7. G-15
       8. G-17-A
       9. G-17-B
      10. G-25
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               WHEREFORE, the United States requests that the Court SEAL the above describe
exhibits, this Motion and Order, pending further order of the Court.
                                              Respectfully submitted,
                                              STAN HARRIS
                                              ACTING UNITED STATES ATTORNEY

                                      By:     /s/
                                              Assistant United States Attorney
       CONSIDERING THE FOREGOING,
       IT IS HEREBY ORDERED that the above described documents be sealed, as well as this
Motion and Order to Seal.
       SO ORDERED, this the         3rd     day of      June       , 2009.

                                                   s/ David Bramlette
                                              UNITED STATES DISTRICT JUDGE
